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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

JOHN ELLIS,

                   Plaintiff,                         No. 23-cv-00123

       v.                                             Honorable Judge Matthew F. Kennelly

UNITED AIRLINES, INC.,                                Magistrate Judge Heather K. McShain

                   Defendant.


                    DEFENDANT’S MEMORANDUM IN SUPPORT OF
                            ITS MOTION TO DISMISS

       Plaintiff, who is a Boeing 737 Captain formerly employed by United Airlines, Inc.

(“United”), advances two theories of liability under the Americans with Disabilities Act of 1990

(“ADA”). Plaintiff’s claims purportedly stem from United’s institution of a vaccine mandate in

August 2021. (Dkt. No. 1, ¶¶ 9, 11, 12). Specifically, in Count I, Plaintiff alleges that United’s

requirement that he provide his COVID-19 vaccination status and obtain the COVID-19 vaccine

is an unlawful medical exam or inquiry. (Dkt. No. 1, ¶ 28); see also 42 U.S.C. § 12112(d)(4)(A).

In Count II, Plaintiff alleges that United regarded him as having the disability of “being contagious

with COVID-19 or about to become so” and that “United terminated him based on its perception

that he was contaminated with COVID-19” (Count II). (Dkt. No. 1, ¶¶ 32, 33); see also 42 U.S.C.

§ 12102(3).

       Plaintiff has failed to state a claim upon which relief may be granted. With respect to Count

I, federal district courts across the country have dismissed nearly identical ADA claims based

solely on the existence of a COVID-19 vaccine mandate, finding that inquiry into vaccination

status as part of a COVID-19 vaccine mandate is not an unlawful medical exam or inquiry as a

matter of law. See Sharikov v. Philips Med. Sys. MR, 2023 WL 2390360, at * 15 (N.D.N.Y. Mar.
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7, 2023) (consolidating cases) (slip op.); Karraker v. Rent-A-Center, Inc., 411 F.3d 831, 835 (7th

Cir. 2005) (quoting EEOC guidance). With respect to Count II, courts have dismissed “perceived

as” disability discrimination claims based on a refusal to comply with a COVID-19 vaccine

requirement because the perception that a plaintiff is more likely to become unhealthy (i.e. contract

COVID-19) is not a perception that they currently are disabled, as is required to state a claim under

the ADA. Shell v. Burlington N. Santa Fe Ry. Co., 941 F.3d 331, 336 (7th Cir. 2019). Thus, as is

true in every other case that has considered the alleged claims at issue here, Plaintiff fails to state

a claim upon which relief can be granted, and his Complaint must be dismissed in its entirety for

these reasons alone. Additionally, Plaintiff’s claims are time-barred, and he has failed to satisfy

his obligation to exhaust his administrative remedies; these facts provide further grounds for

dismissal.

  I.     STANDARD

         “To survive a motion to dismiss under Rule 12(b)(6), a complaint must state a claim to

relief that is plausible on its face.” Roberts v. City of Chi., 817 F.3d 561, 564 (7th Cir. 2016)

(quotations omitted); Shuhaiber v. Ill. Dep’t of Corr., 980 F.3d 1167, 1170 (7th Cir. 2020). To be

facially plausible, the complaint must include sufficient factual allegations to allow “the court to

draw the reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 556 (2007)).

In evaluating the sufficiency of a complaint, courts accept as true all well-pled factual allegations

and draw all reasonable inferences in the plaintiff’s favor. Mohammed v. Dupage Legal Assistance

Found., 781 F. App’x 551, 552 (7th Cir. 2019) (affirming dismissal of ADA claim). Although a

complaint need not include “detailed factual allegations,” mere “labels,” “conclusions,” or

“formulaic recitation[s] of the elements of a cause of action” do not suffice. Twombly, 550 U.S. at



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555; Brode v. Xeris Pharm., 2023 WL 2711770, at *1 (N.D. Ill. Mar. 30, 2023) (slip op.).

    II.     ARGUMENT

               a. Count I must be dismissed because mandatory vaccination policies and
                  associated vaccine disclosure requirements are not medical exams or
                  disability-related inquiries.

            In Count I of his Complaint, Plaintiff alleges that United’s COVID-19 vaccination policy

and associated disclosure requirement violate Section 12112(d)(4)(A) of the ADA because they

are purportedly “unjustified” medical examinations or disability-related inquiries. Dkt.1, ¶ 28.

Plaintiff is mistaken: a policy requiring employees to obtain the COVID-19 vaccine and disclose

their vaccination status is neither a medical examination nor a disability-related inquiry as a matter

of law. Passarella v. Aspirus, Inc., 2023 WL 2455681, at *7 (W.D. Wis. Mar. 10, 2023) (slip op.).

Thus, Count I must be dismissed.

            Under Section 12112(d)(4)(A) of the ADA, an employer “shall not require a medical

examination and shall not make inquiries of an employee as to whether such employee is an

individual with a disability or as to the nature or severity of the disability, unless such examination

or inquiry is shown to be job-related and consistent with business necessity.” 42 U.S.C. §

12112(d)(4)(A); (Dkt. 1, Count I).1 A medical examination is “a procedure or test that seeks

information about an individual’s physical or mental impairments or health.” Karraker, 411 F.3d

at 835 (quoting EEOC guidance). An employer’s inquiry implicates this section if it “would reveal




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 If the alleged conduct is not a medical examination or inquiry regarding a disability, then the Court need
not consider whether the examination or inquiry is consistent with business necessity. WHAT YOU SHOULD
KNOW ABOUT COVID-19 AND THE ADA, THE REHABILITATION ACT, AND OTHER EEO LAWS | U.S.
EQUAL EMPLOYMENT OPPORTUNITY COMMISSION, at § K.5. https://www.eeoc.gov/wysk/what-you-
should-know-about-covid-19-and-ada-rehabilitation-act-and-other-eeo-laws [EEOC Guidance], (Updated,
Jul. 22, 2022).

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disabilities.” Sharikov, 2023 WL 2390360, at *15 (quoting Conroy v. New York Dept. of

Correctional, 333 F.3d 88, 95 (2d Cir. 2003)).

       Federal district courts in multiple jurisdictions have clearly articulated that vaccine

mandates, which require disclosure of vaccination status, are not medical examinations and do not

inquire about the existence of a disability or a physical or mental impairment. Passarella, 2023

WL 2455681 at *7 (dismissing the plaintiff’s claim that the employer’s COVID-19 vaccine

mandate and other requirements violated § 12112(d)(4)(A) of the ADA because the policy did not

seek information about the plaintiff’s health); Sharikov, 2023 WL 2390360, at *15 (vaccine

attestation, an inquiry regarding whether plaintiff had contact with any ‘infectious people’,

COVID-19 testing, and daily temperature screenings were not inquiries or medical examinations

that would reveal disabilities); Jorgenson v. Conduent Transp. Sols., 2023 WL 1472022, at *5 (D.

Md. Feb. 2, 2023) (no violation of ADA where the defendant required the plaintiff to attest to

whether he received the COVID-19 vaccine because the “attestation requirement did not constitute

a medical examination or an inquiry about a disability”) (slip op.); Chancey v. BASF Corp., 2022

WL 18438375, at *4 (S.D. Tex. Dec. 29, 2022) (required weekly antigen testing, implemented

“close contact” quarantine measures, and allegation that the employer “classified” the plaintiff as

“unvaccinated” failed to allege “any action that meets the definitions of a disability-related inquiry

or medical examination,” and explaining that employer’s actions were “consistent with recent

EEOC guidance specifically related to the COVID-19 pandemic” (citing EEOC’s Guidance) (slip

op.); McCone v. Exela Techs., Inc., 2022 WL 801772, at *4, (M.D. Fla. Jan. 14, 2022) (no violation

where COVID-19, standing alone, is not a disability or impairment and a COVID-19 test is not

‘likely to reveal a disability’). Indeed, United was unable to locate any case finding that a vaccine




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mandate and associated disclosure requirement, without more, constitutes a prohibited medical

exam or inquiry.

       The weight of the foregoing authority is also consistent with the EEOC’s express guidance

permitting vaccination mandates. While EEOC Guidelines are not binding on the courts, “they

constitute a body of experience and informed judgment to which courts and litigants may properly

resort for guidance.” Meritor Savings Bank v. Vinson, 477 U.S. 57, 65 (1986) (internal quotations

omitted). Here, the EEOC’s guidance provides that, subject to the reasonable accommodation

provisions in the ADA and other laws not applicable here, “[t]he federal EEO laws do not prevent

an employer from requiring all employees to be vaccinated against COVID-19….If there is such

an employer requirement, the EEO laws do not prevent employers from requiring documentation

or other confirmation that employees are up to date on their vaccinations[.]” (EEOC Guidance, §

K.1 (Updated Jul. 22, 2022)). Moreover, the EEOC’s guidance also speaks directly to the

impropriety of the allegations in Count I and clarifies that:

       “[w]hen an employer asks employees whether they obtained a COVID-19
       vaccination, the employer is not asking the employee a question that is likely to
       disclose the existence of a disability; there are many reasons an employee may not
       show documentation or other confirmation of vaccination besides having a
       disability. Therefore, requesting documentation or other confirmation of
       vaccination is not a disability-related inquiry under the ADA, and the ADA’s
       rules about making such inquiries do not apply.” Id. at § K.9 (emphasis added).

In short, the overwhelming weight of cross-jurisdictional judicial authority, and the EEOC’s

applicable guidance on vaccine mandates, clearly and unanimously demonstrate that United’s

policy requiring employees to obtain the COVID-19 vaccine and, in connection with that

obligation, disclose their vaccination status, is not a medical exam or inquiry under section

12112(d)(4)(A) of the ADA.




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       In addition to the above authority, Plaintiff demonstrates the legality of United’s policy

when he pleads, “United notified its workforce, including Plaintiff, that its members would have to be

fully vaccinated against COVID-19 no later than September 27, 2021.” Thus, it is undisputed that the

policy applied generally to all employees. (Dkt. 1, ¶ 12). Again, as the EEOC explains, subject to

the reasonable accommodation requirements, “[t]he federal EEO laws do not prevent an employer

from requiring all employees to be vaccinated against COVID-19[.]” (EEOC Guidance, § K.1

(Updated Jul. 22, 2022)). Plaintiff has pled that United’s policy applied to “its workforce” at large,

and he has not alleged that he requested an accommodation or that he had any impairment for

which he may have needed an accommodation under the ADA. Accordingly, Plaintiff’s conclusory

allegation that United’s vaccination policy was “unjustified” or violated the ADA fails to state a

claim upon which relief can be granted, and the Court should dismiss Count I.

           b. Count II must be dismissed because an employee regarded as not being
              vaccinated is not regarded as having a physical or mental impairment.

       In Count II, Plaintiff claims that he was subject to discrimination under the ADA because

United perceived him as being disabled based on his refusal to comply with its COVID-19 vaccine

requirement. To defeat dismissal of his claim, Plaintiff must plausibly allege that he “is disabled

within the meaning of the Act, is nevertheless qualified to perform the essential functions of the

job either with or without reasonable accommodation and has suffered an adverse employment

action because of his disability.” See Tate v. SCR Medical Transp., 809 F.3d 343, 345 (7th Cir.

2015). The ADA defines “disability” in three ways: (A) a physical or mental impairment that

substantially limits one or more major life activities of [plaintiff]; (B) a record of such an

impairment; or (C) being regarded as having such an impairment. 42 U.S.C. § 12102(1)(A)-(C).

Here, Plaintiff claims that United regarded him as disabled – which Plaintiff defines as “being

contagious with COVID-19 or about to become so”. (Dkt. No. 1, Count II, ¶¶ 32). Because Plaintiff


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has not – and cannot – allege that he has or was perceived as having a disability within the meaning

of the ADA, Count II must be dismissed.

        Indeed, Plaintiff’s theory that he was regarded as disabled is overwhelmingly refuted by

the applicable precedent. Courts have consistently held that the “regarded as” prong of the ADA

“plainly encompasses only current impairments, not future ones.” Shell, 941 F.3d at 336. Thus, it

“does not cover [a] case where an employer perceives a person to be presently healthy with only a

potential to become ill and disabled in the future.” EEOC v. STME, LLC, 938 F.3d 1305, 1315

(11th Cir. 2019); see also Brode, 2023 WL 2711770, at *3 (dismissing plaintiff’s “perceived as”

ADA-based challenge to a vaccine mandate because she did not plead the employer viewed her as

disabled at the time of her termination). Against this framework, courts have held that an employee

who is perceived as possibly being able to contract COVID-19 or being potentially infectious is

not perceived as being disabled, within the meaning of the ADA. Sharikov, 2023 WL 2390360, at

*7-8 (consolidating cases). This is because even if an employee was perceived as being at risk of

developing COVID-19 in the future, that would not plausibly state an ADA claim – which requires

a current impairment. D’Cunha v. Northwell Health Sys., 2023 WL 2266520, at *5 n.5 (S.D.N.Y.

Feb. 28, 2023) (dismissing claim that plaintiff was perceived as disabled for non-compliance with

the vaccine mandate because that did not mean “that she was regarded as presently having a

disability”) (slip op.); Shell, 941 F.3d at 336.

        Indeed, “[e]very court that has considered this question has held the same.” Gallo v. Wash.

Nationals Baseball Club, LLC, 2023 WL 2455678, at *4 (D.D.C. Mar. 10, 2023) (dismissing claim

that COVID-19 vaccine mandate violated the ADA under the “perceived as” prong and noting that

accepting the plaintiff’s conclusion “would mean that every unvaccinated person in the United

States is now ‘disabled’ under the ADA”) (slip op.); see also, e.g., Brode, 2023 WL 2711770, at



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*3; Sharikov, 2023 WL 2390360, at *7-8; D’Cunha, 2023 WL 2266520, at *5 n.5; Shklyar v.

Carboline Co., 2022 WL 2867073, at *5 (E.D. Mo. July 21, 2022) (allegation that the employer

regarded the plaintiff “as having the disability of a contagious disease and as being substantially

limited with impaired immune and respiratory systems” was “simply implausible in light of the

general applicability of [the employer’s] COVID-19 policies” because it “would require inferring

that [the employer] regarded all of its [employees] as having a disability”), aff’d 2023 WL 1487782

(8th Cir. Feb. 3, 2023); Jorgenson, 2023 WL 1472022, at *4 (dismissing a plaintiff's “regarded as”

ADA claim because requiring employees to attest to their vaccination status “does not plausibly

reflect a determination or belief that any of its employees are disabled or impaired”); Leggo v.

M.C. Dean, Inc., 2023 WL 1822383, at *4 (E.D. Va. Feb. 7, 2023) (holding the same and citing

Jorgenson and Shklyar) (slip op.); Earl v. Good Samaritan Hosp. of Suffern, 2021 WL 4462413,

at *6 (S.D.N.Y. Sept. 28, 2021) (finding that the plaintiff “failed to plausibly allege that [his

employer] perceived him to be disabled based on his potential to infect patients with COVID-19”

because the “perception of infectiousness is not the same as perceived disability”).

       As was true in all the foregoing cases, Plaintiff’s claim that United regarded him as disabled

within the meaning of the ADA based on his failure to comply with the generally applicable

obligation to disclose his vaccination status fails as a matter of law. (Dkt. No. 1, ¶¶ 12, 32); see

also Speaks v. Health Sys. Mgmt., Inc., 2022 WL 3448649, at *5 (W.D. N.C. Aug. 17, 2022) (“no

plausible basis to conclude that employer regarded the plaintiff as having a ‘physical or mental

impairment’” because it “only regarded the plaintiff as being required - like all of its employees -

to obtain a COVID-19 vaccine or be approved for an exemption and then ‘regarded’ her as having

failed to do so by the deadline to become vaccinated”) (citations and quotations omitted).

Therefore, this Court should dismiss Plaintiff’s ADA discrimination claim in Count II.



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           c. Plaintiff’s claim is time-barred and he has failed to exhaust his administrative
              remedies.

       As an additional basis for dismissal, Plaintiff’s claim is time-barred. A plaintiff

complaining of discriminatory conduct under the ADA must file a complaint with the EEOC

within 300 days of the alleged unlawful conduct, which in this case, is Plaintiff’s termination.

Hentosh v. Herman M. Finch Univ., 167 F.3d 1170, 1173 (7th Cir. 1999). Courts will dismiss

untimely claims where the allegations establish that their charge was untimely filed. See Rosas v.

Bd. of Educ. of Chi., 2023 WL 415183, at *13 (N.D. Ill. Jan. 25, 2023) (dismissing the plaintiff’s

ADA claim where dates alleged in the complaint established her charge was untimely filed); Hegde

v. Advoc. Christ Med. Ctr., 2023 WL 2974079, at *4 (N.D. Ill. Apr. 17, 2023). Here, Plaintiff

alleges that he was terminated on November 1, 2021, and that he filed his charge with EEOC 337

days later, on October 5, 2022. (Dkt. No. 1, ¶¶ 22, 23). Accordingly, Plaintiff pleads himself out

of Court because he has affirmatively pled that his complaint is time-barred, as a matter of law.

       Additionally, “claims brought in judicial proceedings must be within the scope of the

charge filed with the EEOC.” Conner v. Ill. Dept. of Nat. Res., 413 F.3d 675, 680 (7th Cir. 2005);

see also Reynolds v. Tangherlini, 737 F.3d 1093, 1102 (7th Cir. 2013). Reynolds, 737 F.3d at

1102 (plaintiff may only “bring claims actually charged in the administrative proceeding and also

claims that are ‘like or reasonably related to’ the administrative charges” (citation omitted)). Here,

Plaintiff has not provided his EEOC Charge, which he alleges was pending for just five days

before the right to sue letter was issued. He does not state whether he even alleged any facts in

his EEOC Charge which were related to his allegations under the ADA. Accordingly, his

complaint should also be dismissed because, as pled, Plaintiff has failed to allege that he filed a




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charge with the EEOC that actually charged United with the claims he now brings in a second

federal lawsuit.2

III.     CONCLUSION

         Based upon the foregoing facts, arguments, and authorities, Defendant, United Airlines,

Inc., respectfully requests that this Court dismiss Plaintiff’s complaint, in its entirety, with

prejudice, and for all other relief this Court deems fair and just.

                                                        Respectfully submitted,

                                                        UNITED AIRLINES, INC.

                                                        /s/ Angela R. Huisingh
                                                        One of Its Attorneys

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Dated: April 27, 2023




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  Plaintiff also has a complaint against his union, the Air Line Pilots Association, International, pending in
the District Court for the Western District of Texas alleging, inter alia, a breach of its duty of fair
representation by not challenging United’s August 2021 vaccination policy.

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                                CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that on April 27, 2023, she caused a copy of

the foregoing Defendant’s Memorandum in Support of its Motion to Dismiss to be filed

electronically with the Clerk of the U.S. District Court, Northern District of Illinois, using the

CM/ECF (electronic case filing) system, which will send notification of such filing to all counsel

of record, including:

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                                                     /s/Angela R. Huisingh
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